                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. 15-CR-2037-LRR-3
 vs.                                                           ORDER
 DANIELA CASTELLANOS,
               Defendant.
                                ____________________
                                 I. INTRODUCTION
       The matter before the court is Defendant Daniela Castellanos’s “Motion in Limine”
(“Motion”) (docket no. 328).
                      II. RELEVANT PROCEDURAL HISTORY
       On August 26, 2015, the grand jury returned a one-count Indictment (docket no.
12), charging Defendant and others with conspiracy to distribute a controlled substance in
violation of 21 U.S.C. § 846. Defendant has pleaded not guilty and a jury trial is
scheduled to commence with jury selection on August 5, 2016, and evidence beginning on
August 9, 2016. See Trial Scheduling Order (docket no. 338). On July 12, 2016,
Defendant filed the Motion. On July 22, 2016, the government filed a Resistance (docket
no. 354). On July 25, 2016, the parties appeared before the court for a final pretrial
conference, during which they addressed the issues appearing in the Motion. See July 25,
2016 Minute Entry (docket no. 362). The matter is fully submitted and ready for decision.
                                    III. ANALYSIS
       In the Motion, Defendant argues that the court should exclude testimony by law
enforcement officers stating their opinion about the “meaning and intent” of certain
wiretapped conversations between Defendant and others. See Motion at 1-2. More
specifically, Defendant anticipates that the government will play recorded telephone
conversations for the jury and will elicit officer testimony about the meaning of the


   Case 6:15-cr-02037-LRR-CJW         Document 363      Filed 07/26/16    Page 1 of 3
conversations and the intent of the participants of the conversations. See generally id.
Defendant further argues that officers should be barred from speculating about the
identities of the parties to the conversations. See Brief in Support of Motion (docket no.
328-1) at 4.
       Federal Rule of Evidence 702 permits a witness who is “qualified as an expert by
knowledge, skill, experience, training, or education” to provide opinion testimony if he
or she has “specialized knowledge [that] will help the trier of fact to understand the
evidence,” so long as such testimony meets certain criteria ensuring its reliability. See
Fed. R. Evid. 702. Pursuant to Rule 702, “[i]t is ‘well established that experts may help
the jury with the meaning of jargon and codewords’ used by drug dealers.” United States
v. Haire, 806 F.3d 991, 996 (8th Cir. 2015) (quoting United States v. Delpit, 94 F.3d
1134, 1145 (8th Cir. 1996)). In particular, law enforcement officers may testify about
drug-related terms used in a particular city or region if they have the requisite “personal
experience and training,” which can include “experience as narcotics investigators” and/or
drug purchases as undercover officers. United States v. Placensia, 352 F.3d 1157, 1164-
65 (8th Cir. 2003). Outside of an expert capacity, however, officers may not testify
regarding matters about which they have no personal knowledge, Fed. R. Evid. 602, and
may not provide opinion testimony that is not “rationally based on [their] perception,”
Fed. R. Evid. 701. See also United States v. Peoples, 250 F.3d 630, 641 (8th Cir. 2001)
(“When a law enforcement officer is not qualified as an expert by the court, her testimony
is admissible as lay opinion only when the law enforcement officer is a participant in the
conversation, has personal knowledge of the facts being related in the conversation, or
observed the conversations as they occurred.”).
       In the Motion, Defendant concedes that “[w]ithout knowing exactly which recorded
calls the government intends to introduce into evidence, it is impossible for [Defendant]
to present examples to the [c]ourt.” Brief in Support of Motion at 4. Without knowing


                                            2


   Case 6:15-cr-02037-LRR-CJW         Document 363       Filed 07/26/16    Page 2 of 3
the details of any officer testimony, the court cannot determine whether such testimony
will be properly based on expert opinion, personal knowledge or lay opinion rationally
based on the officer’s perception. Therefore, the court denies the Motion. If an objection
is made by Defendant at trial, the court will address the objection at that time.
                                   IV. CONCLUSION
       In light of the foregoing, the Motion (docket no. 328) is DENIED.
       IT IS SO ORDERED.
       DATED this 26th day of July, 2016.




                                             3


   Case 6:15-cr-02037-LRR-CJW          Document 363      Filed 07/26/16    Page 3 of 3
